 Case 1:24-cv-00669-RJJ-RSK ECF No. 6, PageID.67 Filed 07/19/24 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT MICHIGAN

STRIKE 3 HOLDINGS, LLC,                          )
                                                 )
               Plaintiff,                        )   Civil Case No. 1:24-cv-00669-RJJ-RSK
                                                 )
v.                                               )
                                                 )
JOHN DOE subscriber assigned IP                  )
Address 108.70.85.64,                            )
                                                 )
               Defendant.                        )
                                                 )

                   MOTION FOR LEAVE TO SERVE A THIRD-PARTY
                   SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

       Pursuant to Fed. R. Civ. P. 26(d)(1), and upon the attached: (1) Memorandum of Points

and Authorities in support of this motion; (2) Declaration of Jorge Arco in support of this

motion; (3) Declaration of Patrick Paige in support of this motion; and (4) Declaration of Susan

B. Stalzer in support of this motion, Strike 3 Holdings, LLC (“Plaintiff”), respectfully moves for

entry of an order granting it leave to serve a third-party subpoena on AT&T Internet, prior to a

Rule 26(f) conference (the “Motion”).

Dated: 07/19/2024                    Respectfully submitted,

                                              BOROJA, BERNIER &
                                              ASSOCIATES PLLC

                                              /s/ Joel A. Bernier
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